UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

BRAD SIMENZ,
Plaintiff,
Vv. Case No. 07-C-0601
AMERIHOME MORTGAGE
COMPANY, L.L.C.,
Defendant.

 

DEFENDANT'S MEMORANDUM IN OPPOSITION TO PLAINTIFF'S
AUGUST 9, 2007 (SECOND) MOTION TO REMAND

 

Amerihome Mortgage Company, L.L.C. ("Amerihome") opposes plaintiff's
August 9, 2007 Motion to Remand because it is based on grounds constituting
"any defect other than subject matter jurisdiction," and was untimely filed more
than 30 days after the filing of Amerihome's notice of removal.

ARGUMENT

I. PLAINTIFF'S AUGUST 9, 2007 MOTION TO REMAND IS
UNTIMELY.

A. Procedural Background To Plaintiff's August 9 Motion To
Remand.

A plaintiff's ability to challenge the propriety of removal is not without
limitations, including time limitations. Under 28 U.S.C. § 1447(c), a "motion to

remand the case on the basis of any defect other than lack of subject-matter

Case 2:07-cv-00601-LA Filed 09/04/07 Page 1of15 Document 36
jurisdiction must be made within 30 days after the filing of the notice of removal
under section 1446(a)."

On June 29, 2007, Amerihome timely filed its Notice of Removal, which
was entered by the Court on July 2, 2007, based on the minimal diversity grounds
under the Class Action Fairness Act ("CAFA"). As applied here, and even
assuming that the 30-day deadline is calculated from date of service, rather than
date of filing, any motion to remand on grounds other than subject matter
jurisdiction needed to have been filed no later than August 6, 2007.' Plaintiff,
however, filed the instant motion to remand arguing that the Court should decline
jurisdiction under two provisions in CAFA, 28 U.S.C. §§ 1332(d)(3) and
1332(d)(4), on August 9 — three days after the deadline for doing so.

(Aug. 9, 2007 Notice and Mot. To Remand ("Aug. 9 Mot. to Remand").)

The question before this Court is thus primarily one of subject matter
jurisdiction. If the Court determines that plaintiff's August 9 Motion to Remand
based on the provisions of CAFA addressing when and whether a Court might
decline to exercise jurisdiction constitutes "any defect other than lack of subject-
matter jurisdiction," there can be no dispute that plaintiff's August 9 Motion to

Remand is untimely under 28 U.S.C. § 1447(c). Accordingly, if the Court so

 

! pursuant to 28 U.S.C. § 1447(c), on July 30, 2007, plaintiff timely filed his first motion to remand
challenging whether Amerihome met the threshold requirements set forth in 29 U.S.C. § 1332(d)(2) so to
give this Court original jurisdiction over the action. (Jul. 30, 2007 Notice and Mot. to Remand.) Briefing
related to the July 30 motion to remand has been completed.

Case 2:07-cv-00601-LA Filed 09/04/07 Page 2 0f15 Document 36
concludes, the Court should disregard plaintiff's August 9 Motion to Remand in its
entirety.

B. Statutory Provisions Relating To CAFA, Removal, And
Remand.

The primary provisions of CAFA are set forth in 28 U.S.C. 1332(d) and 28
U.S.C. 1453. CAFA expands the jurisdiction of the district courts, and provides
that the "district courts shall have original jurisdiction of any controversy" where
the enumerated requirements of 28 U.S.C. § 1332(d)(2) are met. If these threshold
requirements are established, the district court shall have original jurisdiction over
the action, and a party may file the action in federal court, or, if initially filed in a
state court, a party may remove the action to federal court under 28
U.S.C. § 1441(a), which permits removal of "any civil action brought in a State
court of which the district courts of the United States have original jurisdiction."
The removing party must establish the threshold requirements of 28
USS.C. § 1332(d)(2). See Hart v. Fedex Ground Package System Inc., 457 F.3d
675, 679 (7th Cir. 2006).

Plaintiff's August 9 Motion to Remand addresses two provisions of
CAFA — 28 U.S.C. § 1332(d)(3) and 28 U.S.C. § 1332(d)(4). Section 1332(d)(3)
states that a "district court may, in the interests of justice and looking at the totality
of circumstances, decline to exercise jurisdiction under paragraph (2) over a class
action," and then lists a variety of factors for a court to consider. Section

1332(d)(4) provides that a "district court shall decline to exercise jurisdiction

Case 2:07-cv-00601-LA Filed 09/@4/07 Page 3o0f15 Document 36
under paragraph (2)" if each prerequisite element expressly set forth in
1332(d)(4)(A) or 1332(d)(4)(B) are met.

Nothing in 28 U.S.C. § 1332(d) addresses when a motion to remand must
be brought. However, 28 U.S.C. § 1453 expressly provides that the removal
provisions set forth in 28 U.S.C. § 1446 and the remand provisions set forth in 28
U.S.C. § 1447 shall apply to any removal of a class action, except as otherwise
expressly provided in 28 U.S.C. § 1453. See 28 U.S.C. § 1453(c)(1) ("Section
1447 shall apply to any removal of a case under this section . . . ")? Pursuant to
28 U.S.C. § 1447(c), any motion to remand "on the basis of any defect other than
lack of subject-matter jurisdiction must be made within 30 days after the filing of
the notice of removal under section 1446(a)." Section 1447(c) further makes
remand mandatory "[ilf at any time before final judgment it appears that the
district court lacks subject-matter jurisdiction."

Thus, the question of whether plaintiff's August 9 Motion to Remand
asking this Court to decline to exercise its jurisdiction under
28 U.S.C. §§ 1332(d)(3) and 1332(d)(4) was timely turns on whether or not those
provisions constitute any defect other than lack of subject matter jurisdiction. If
these sections are matters of subject matter jurisdiction, the 30-day deadline in

28 U.S.C. § 1447(c) does not apply. If these sections are not a matter of subject

 

> The only exception to the applicability of 28 U.S.C. § 1447 is that 28 U.S.C. § 1453(c) permits a court of
appeals to accept an appeal from an order of a district court granting or denying a motion to remand a class
action, which is ordinarily not reviewable on appeal pursuant to 28 U.S.C. § 1447(d).

Case 2:07-cv-00601-LA Filed 09/Q@4/07 Page 4o0f15 Document 36
matter jurisdiction, then plaintiffs August 9 Motion to Remand is untimely, and

plaintiff may not challenge the propriety of removal under either sections

1332(d)(3) or 1332(d)(4).

C. The Statutory Provisions Relating To Remand and Provisions

Relating To The Court's Exercise Of Jurisdiction Under CAFA
Can Be Read Together To Require That Motions For Remand
On The Grounds Contained In Sections 1332(d)(3) and
1332(d)(4) Must Be Filed Within 30 Days Of Removal.

The analysis of whether 28 U.S.C. §§ 1332(d)(3) and 1332(d)(4) are
provisions that strip the Court of subject matter jurisdiction otherwise conferred
under 28 U.S.C. § 1332(d)(2) begins, of course, with the statutory language itself.

By its very terms, original jurisdiction is conferred upon a district court
once the threshold requirements set forth in 28 U.S.C. § 1332(d)(2) are
established. Once these threshold requirements of amount in controversy and
minimal diversity under CAFA are met, the action may be properly removed. The
removing party need not also show that it can establish each of the factors and
conditions contained in 28 U.S.C. §§ 1332(d)(3) and 1332(d)(4) in order to file a
notice of removal that confers original jurisdiction on the district court to hear the
action under 28 U.S.C. § 1332(d)(2). See Hart, 457 F.3d at 681. It is now well-
established that a party seeking remand under the "exceptions" contained in 28
U.S.C. §§ 1332(d)(3) and 1332(d)(4) bears the burden of establishing the

prerequisites under those sections. Id.; see also, e.g., Evans v. Walter Indus., Inc.

449 F.3d 1159 (11th Cir. 2006); Serrano v. 180 Connect, Inc., 478 F.3d 1018

Case 2:07-cv-00601-LA Filed 09/94/07 Page 5of15 Document 36
(9th Cir. 2007); Preston v. Tenet Healthsystem Memorial Medical Center, Inc.,
485 F.3d 793 (Sth Cir. 2007).

Section 1332(d)(3) uses permissive language in that a district court
"may ... decline to exercise jurisdiction” over an action properly removed under
28 U.S.C. § 1332(d)(2) in certain circumstances. Sections 1332(d)(3) and
1332(d)(4) are similarly structured and use almost identical phrasing. Section
1332(d)(4), however, states that a court "shall decline to exercise jurisdiction" over
an action properly removed under 28 U.S.C. § 1332(d)(2) if certain prerequisites
are met. The permissive nature of 28 U.S.C. § 1332(d)(3) indicates that Congress
could not have intended that the use of the word "jurisdiction" in
28 U.S.C. § 1332(d)(3) as an equivalent to "subject matter jurisdiction" because
the existence of subject matter jurisdiction is mandatory to a court's ability to enter
judgment. Indeed, under 28 U.S.C. § 1447(c) itself, a court must remand an action
if it appears that the district court lacks subject matter jurisdiction at any time
before final judgment. Declining to exercise jurisdiction, either as a "may" or a
"shall", presumes that subject matter jurisdiction exists. How else could a court
decline to do something unless there was something — jurisdiction — to decline?

Congress used very different phrasing when it chose to make certain types
of actions clearly not subject to the district court's original jurisdiction under 28
U.S.C. § 1332(d)(2). In 28 U.S.C. § 1332(d)(5), Congress did not use the phrasing
"decline jurisdiction" but stated simply that "Paragraphs (2) through (4) shall not

apply to any class actions" in which the primary defendants are states, state

Case 2:07-cv-00601-LA Filed 0994/07 Page 6 of 15 Document 36
officials, or other governmental entities against whom the district court may be
foreclosed from granting relief, and class actions involving less than 100
members. Similarly, in 28 U.S.C. § 1332(d)(9), Congress expressed clearly its
intention that district courts shall not have original jurisdiction over certain types
of class actions such as those involving securities by providing simply, "Paragraph
(2) shall not apply to any class action that solely involves [the following]
claim[s]." Clearly, Congress is denying district courts original jurisdiction in the
circumstances present under 28 U.S.C. §§ 1332(d)(5) and 1332(d)(9). If Congress
intended 28 U.S.C. §§ 1332(d)(3) and 1332(d)(4) to undermine district courts'
subject matter jurisdiction to decide an action, it could have said so just as it did in
28 U.S.C. §§ 1332(d)(5) and 1332(d)(9).

That courts may or must decline "jurisdiction" under certain circumstances
does not necessarily relieve a party opposing removal from the requirement of
filing a timely motion to remand under 29 U.S.C. § 1447(c). This interpretation
gives meaning to each of the provisions contained in 28 U.S.C. §§ 1332(d)(2-4),
1447 and 1453; a party seeking to remand an action under sections 1332(d)(3) or
1332(d)(4) must file its motion within the 30-day deadline under 28 U.S.C.
1447(c). Ifno timely motion to remand is filed, the matter is considered waived.

Amerithome's research reveals no cases where a court was squarely
presented with the issue of whether a motion to remand based solely on the
grounds set forth in 28 U.S.C. §§ 1332(d)(3) and 1332(d)(4) is subject to the time

restrictions of 28 U.S.C. § 1447(c). A decision cited repeatedly by plaintiff,

Case 2:07-cv-00601-LA Filed 09/04/07 Page 7 of 15 Document 36
Kitson v. The Bank of Edwardsville, Civ. No. 06-528, 2006 WL 3392752 at * 1
(S.D. Il. Nov. 22, 2006), framed its analysis of the applicability of the CAFA
exceptions set forth in 28 U.S.C. §§ 1332(d)(3) and 1332(d)(4) as one of
abstention.’ Id. at 7 (noting that plaintiff's motion for remand turned on "whether
the Court is required under CAFA to abstain from hearing this case."). The Kitson
court analyzed both provisions and ultimately concluded that the case should be
remanded. The timeliness of the remand motion was not raised by the parties.*
In his reply brief on his July 30 Motion to Remand, which was timely
brought pursuant to 28 U.S.C. § 1447(c) and challenges whether Amerihome
established the threshold requirements for subject matter jurisdiction under
28 U.S.C. § 1332(d)(2), plaintiff also advanced an argument regarding the

timeliness of his August 9 Motion to Remand. (PI's Aug. 30 Br. in Resp. to Def.'s

 

728 U.S.C. § 1447(c) has been revised several times, the latest being in 1996 resulting in its current
incarnation that the 30-day deadline applies to bring a motion to remand “on the basis of any defect other
than lack of subject matter jurisdiction." The previous version of 28 U.S.C. 1447(c) read as follows: "A
motion io remand the case on the basis of any defect in removal procedure must be made within 30 days
after the filing of the notice of removal under section 1446(a)." Thus, until the 1996 amendment, only
motions to remand based on "any defect in removal procedure" were subject to the 30-day time
requirement. This pre-1996 language was the subject of the analysis in a decision by the United States
Supreme Court relating to whether an abstention-based remand order was appealable under 28 U.S.C.

§ 1291 in which the court found that the language then in 28 U.S.C. 1447(c) relating to defect in "removal
procedure" must be grafted into 28 U.S.C. 1447(d). See Quackenbush v. Allstate Ins. Co., 517 U.S. 706,
711-12 (1996). Ina case that also addressed the statutory bar to appellate review of remand, the Supreme
Court recently acknowledged that Quackenbush was decided prior to the 1996 amendment, but assumed for
purposes of that case that the amendment was immaterial to the holding in Quackenbush. See Powerex
Corp. v. Reliant Energy Services, Inc., _ U.S. ____, 127 S. Ct. 2411, 2416 (June 18, 2007). Thus, cases
citing Quackenbush for the principle that the 30-day deadline in 28 U.S.C. § 1447(c) does not apply to
motions to remand based on abstention neither accurately reflect the holding of Quackenbush, nor give
appropriate recognition to the changes wrought by the 1996 amendment to 28 U.S.C. § 1447(c).

* Based only on the Kitson court's recitation of the procedural history, it appears the motion to remand
might have been filed more than 30 days after filing of the notice of removal, but as there was no challenge
to the timeliness of the motion under 28 U.S.C. § 1447(c), it is not entirely clear when the 30-day deadline
would have fallen. See Kitson, Civ. No. 06-528, 2006 WL 3392752 at * 1 (S.D. Ill. Nov. 22, 2006).

Case 2:07-cv-00601-LA Filed 09404/07 Page 8 of 15 Document 36
Opp. to Remand at 2.) In none of these cases, however, was the court faced with
the question here — whether the 30-day deadline in 28 U.S.C. § 1447(c) applies to
motions to remand based solely on the grounds set forth in 28 U.S.C.
§§ 1332(d)(3) and 1332(d)(4).

Plaintiff argues that the Court of Appeals for the Seventh Circuit addressed
the timeliness of motion to remand under 28 U.S.C. §§ 1332(d)(3) and 1332(d)(4)
in Hart v. FedEx Ground Package System Inc., 457 F.3d 675 (7th Cir. 2006). (PI's
Aug. 30 Br. in Resp. to Def.'s Opp. to Remand at 2.) In Hart, however, the
Seventh Circuit was not faced with a question relating to the timeliness of a
motion to remand and its comments are dicta. Jd. at 682. The parenthetical
remark that section 1332(d) "imposes no time limit" on a motion to remand
correctly recognizes that section, standing alone, does include any specific time
limits at all, but does not speak to the other statutory provisions relating to the
timeliness of motions to remove and remand. If the Hart dicta is read to mean that
the Seventh Circuit believes that there are no time restrictions for CAFA remand
motions, then a party seeking remand may file a motion on any grounds at any
time, including, for example, challenges to procedural defects in removal such as
failing to sign the notice of removal or to include a copy of all state court
pleadings with the notice of removal. As it is highly doubtful that the Hart court
could or did mean to change so drastically removal and remand provisions as
applied to CAFA, and because the one paragraph in Hart relating to the timing of

a motion to remand is dicta, the Court is not bound by Hart in this matter.

Case 2:07-cv-00601-LA Filed 09494/07 Page 9of15 Document 36
Furthermore, Hart's dicta ignores entirely 28 U.S.C. § 1453(c)(1), which expressly
states that the provisions of 28 U.S.C. § 1447 "shall apply to any removal of a
case" under the CAFA provisions contained in 28 U.S.C. § 1332(d), including the
30-day requirement on the timeliness of a motion to remand. Whatever the
Seventh Circuit might have meant in Hart with its final paragraph of dicta, it
cannot mean what the plaintiff seems to suggest and does not bind the Court's
decision-making here.°

Requiring a party seeking to remand an action under 28 U.S.C.
§§ 1332(d)(3) or 1332(d)(4) to file its motions within the 30-day deadline
prescribed by 28 U.S.C. § 1447(c) yields a fair and efficient result. Such an
interpretation would avoid constant motions to remand based on any new
information gleaned during discovery. Such an interpretation also comports with
CAFA's legislative history. Within its discussion of its intent that the provisions
of CAFA should be broadly read to expand federal court jurisdiction over class
actions" the Senate Judiciary Committee report goes on to state, "The law is clear

that, once removed to federal court, subsequent events generally cannot 'oust' the

 

° Plaintiff also cites Kitson and Preston v. Tenet Healthsystem Memorial Medical Ctr. in support of its
statement that "there are numerous other examples of federal cases in which motions for remand have been
brought multiple times after 30 days from the notice of removal." (PI's Aug. 30 Br. in Resp. to Def.'s Opp.
to Remand at 2.) As already noted, the Kitson court was not faced with a question regarding the timeliness
of the motion to remand based on the exceptions to the court's exercise of discretion, and actually viewed
the exceptions through the lens of abstention, not whether or not it had subject matter jurisdiction. The
Preston court also did not address the issue of timeliness of a motion to remand, and in the somewhat
tortured procedural history, describes the motion to remand coming before it because another party
"resurrected" a timely-filed motion to remand that another party had abandoned. See 485 F.3d 804, 808-09
(5th Cir. 2007).

Case 2:07-cv-00601-LA Filed 09{@4/07 Page 10o0f15 Document 36
federal court of jurisdiction." See S. Rep. 14, 109" Cong. 1° Sess. 43 (2005),
2005 U.S.C.C.A.N. 3, 41.

The Court should not view 28 U.S.C. §§ 1332(d)(3) and 1332(d)(4) to
impose imitations on its subject matter jurisdiction under 28 U.S.C. § 1332(d)(2);
rather, the Court should consider the grounds in these sections as "any defect other
than lack of subject-matter jurisdiction." Accordingly, the time requirements to
file a motion to remand under 28 U.S.C. § 1447(c) should be applied to plaintiff's
August 9 motion to remand. Because the August 9 motion was filed more than 30
days after the filing of notice of removal, it is untimely, should be disregarded, and
the grounds advanced therein cannot undermine the propriety of Amerihome's
removal of this action to federal court.

Il. IF THE COURT CONCLUDES THAT PLAINTIFF'S

AUGUST 9 MOTION TO REMAND IS TIMELY, AMERIHOME

UNDERSTANDS THAT THE COURT IS LIKELY TO ACCEPT

PLAINTIFF'S REPRESENTATIONS THAT HE SEEKS ONLY

TO CERTIFY A CLASS CONSISTING PREDOMINANTLY OF

CITIZENS OF THE STATE OF WISCONSIN WHO COMPLAIN

ONLY Of STATE LAW VIOLATIONS.

To the extent the Court decides that plaintiff's August 9 Motion to Remand
was not required to be filed within the time limitations of 28 U.S.C. 1447(c), it
must determine whether plaintiff has met its burden to show that the provisions of
28 U.S.C. § 1332(d)(3) and 28 U.S.C. § 1332(d)(4) apply.

One factor in this determination is whether more that two-thirds of the

proposed class are citizens of a state other than Wisconsin. Plaintiff's allegations

in the complaint and as set forth in his various briefs to this Court left

Case 2:07-cv-00601-LA Filed O9/P#/07 Page 11o0f15 Document 36
Amerihome's predecessor counsel unable to ascertain truly who plaintiff claims to
be a member of the class, and whether the proposed class was circumscribed to
include almost exclusively citizens of the State of Wisconsin. In the complaint
itself, plaintiff alleges that the class "consists of all persons who, within
six (6) years prior to the date of commencement of this action, closed a mortgage
loan with Amerihome and were charged a MERS Registration Fee in connection
with a mortgage loan secured by property within the State of Wisconsin. Upon
information and belief, and based upon a review of available public records, the
vast majority of proposed class members (and substantially more than two thirds
of the proposed class members) are citizens of the State of Wisconsin."
(Compl. J 4.) Plaintiff further alleged, upon information and belief, that "there are
not less than 1,000 members who reside in several counties within the State of
Wisconsin." (Compl. ¥ 5.) At the time of removal, Amerihome's predecessor
counsel read the complaint to seek a nationwide class, or at the very least, a class
beyond one consisting of Wisconsin state citizens. One of the reasons for this is
that it did not appear possible for there to be a class greater than 1,000 members if
the action really intended to include almost exclusively citizens of the State of
Wisconsin. Plaintiffs own allegations created an apparent internal inconsistency.
Plaintiff's briefing continues to create additional questions regarding the
proposed class. For example, plaintiff asserts both that the class "consists of all
persons who, within two years prior to the date of commencement of this action,

closed a mortgage loan with Amerihome and were charged a MERS registration

Case 2:07-cv-00601-LA Filed 09494/07 Page 12 0f 15 Document 36
Fee in connection with a mortgage loan secured by property within the State of
Wisconsin," and later, in the same brief, that the class would consist of only those
individuals who have purchased property in the State of Wisconsin through a
mortgage with Amerihome in six years prior to the filing of the
Complaint." (July 9 Mot. to Remand at 3.) Further, plaintiff continues to allege
that the proposed class to contain more than 1,000 individuals, but plaintiffs own
"evidence" disputes this figure. Plaintiff contends that over an approximate ten-
month period, there were 83 mortgages that would qualify the mortgagors as
members of plaintiff's proposed class. (Aug. 9 Motion to Remand at 6-7.) If
plaintiff means his class to consist only of Wisconsin citizens, and using his own
research, the class size would consists of either approximately 200 (using a two-
year period as set forth in plaintiff's July 9 Motion to Remand) or 600 (using the
six-year period also used in July 9 Motion to Remand and his complaint).° Even
this higher number does not constitute two-thirds of a class of one thousand. This
basic math makes it reasonable to conclude that the only way plaintiff might create
a class greater than 1,000 members is if that class includes significant numbers of
citizens of states beyond Wisconsin.

Despite these inconsistencies, Amerihome recognizes that plaintiff's
counsel has made numerous representations, both in the complaint and this motion

for remand, that the proposed class is limited predominantly to citizens of the State

 

° Using plaintiff's figures, approximately 8.3 putative class members took a mortgage out each month,
which multiplied by a twelve-month year yields approximately 100 putative class members each year.

Case 2:07-cv-00601-LA Filed 09/04/07 Page 13 0f 15 Document 36
of Wisconsin challenging Wisconsin state law.’ For example, plaintiff now
expressly asserts that greater than two-thirds of the putative class are citizens of
Wisconsin. (Pl.'s Aug. 9 Br. in Supp. of Mot. to Remand at 3.) Amerihome
understands that the Court is likely to accept these representations as to the class
definition. Based on this understanding of the proposed class, Amerihome
believes at this time that greater than two-thirds of those individuals who took out
a mortgage with a Amerihome secured by property located within the State of
Wisconsin and who were charged a MERS fee are domiciled in Wisconsin.

As to the other requirements relating to the exception set forth in
28 U.S.C. § 1332(d)(4)(A), Amerihome does not dispute that such requirements
are met here. Amerihome is the only defendant in this action, and is domiciled in,
among other possible states, the State of Wisconsin. Plaintiff's suggestions that
any of Amerihome's individual members are defendants ("significant" or
otherwise) in this action is improper, as is his assertion that plaintiff intends to
seek relief from any of the individual members of Amerihome, which is a limited

liability company. (Pl.'s Aug. 9 Br. in Supp. of Mot. to Remand at 7-8.)

 

’ Plaintiff asserts that "he did not bring any federal claims" in his complaint. (Aug. 9 Motion to Remand at
1.) Apparently, plaintiff contends that the complaint's mention of the Real Estate Settlement Procedures
Act, 12 U.S.C. § 2601, et seg. ("RESPA") is not intended to raise any federal claim in this action. This
issue is not relevant to the pending motion to remand because Amerihome acknowledges that its
predecessor counsel did not remove based on federal question jurisdiction.

Case 2:07-cv-00601-LA Filed 09{@4/07 Page 140f15 Document 36
Dated this 4th day of September, 2007.

Reinhart Boerner Van Deuren s.c. s/ Sarah A. Huck

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Case 2:07-cv-00601-LA Filed 09/08/07 Page 15 of 15 Document 36
